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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA

           v.                                               Case No.
                                                            3:05cr58 (SRU)
 WARREN HAWKINS

                                       RULING AND ORDER

       A jury convicted Warren Hawkins of conspiracy to distribute, or to possess with intent to

distribute, a detectable amount of cocaine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C).

Hawkins has filed a motion for a judgment of acquittal pursuant to Rule 29(c) of the Federal

Rules of Criminal Procedure. In support of his motion, Hawkins argues that, although he

purchased cocaine from members of the charged conspiracy, the evidence was insufficient to

permit the jury to find that he joined the conspiracy. I agree, and therefore grant Hawkins’

motion for a judgment of acquittal.1

I.     Standard of Review

       A.       Motion for a Judgment of Acquittal

       Rule 29 provides that the court “must enter a judgment of acquittal of any offense for

which the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). A defendant

who seeks to overturn a guilty verdict on the ground that the evidence was insufficient, however,

“bears a heavy burden.” United States v. Best, 219 F.3d 192, 200 (2d Cir. 2000). A reviewing

court must consider the evidence as a whole, not in isolation, and must defer to the jury’s



       1
         In light of this ruling, it is unnecessary to consider Hawkins’ motion for a new trial,
pursuant to Rule 33 of the Federal Rules of Criminal Procedure, which is denied as moot. Nor is
it necessary to reach Hawkins’ second argument in support of his Rule 29 motion, which
addresses the government’s summation.
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determination of the weight of the evidence, credibility of witnesses, and competing inferences

that can be drawn from the evidence. Id. The prosecution’s proof does not need to exclude every

possible hypothesis of innocence. Id.

       In short, the reviewing court must view the evidence in the light most favorable to the

prosecution and must reject the sufficiency challenge if the court concludes that “any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt.”

Jackson v. Virginia, 443 U.S. 307, 319 (1979) (emphasis in original).

II.    Evidence at Trial

       Hawkins and twenty-two co-defendants were charged in a thirteen-count superseding

indictment. Hawkins was charged only in count one: conspiracy to possess with intent to

distribute, and to distribute, cocaine2 in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846.

       Seventeen defendants pled guilty either to the crimes charged in the indictment or to other

offenses. One “John Doe” defendant was never arrested. Three defendants, including Hawkins,

elected to go to trial and to put the government to its proof. Over ten days, the government tried

Hawkins with two co-defendants, Arcadio Ramirez and José Luis Rodriguez.

       At trial, the government proved the existence of a conspiracy, led by one Alex Luna, to

possess cocaine with intent to distribute, and to distribute, cocaine. Luna and his associates –

which the government dubbed “the Luna organization” – distributed cocaine in the Danbury,

Connecticut area from approximately December 2002 until March 4, 2005. Evidence of the

conspiracy included the testimony of law enforcement officers and cooperating witnesses,


       2
         The superseding indictment alleges that the conspiracy charged in count one also
involved cocaine base, but there was no evidence whatsoever that Hawkins had any role in or
knowledge of transactions involving cocaine base.

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surveillance videos, and audiotapes of telephone conversations. Luna obtained quantities of

cocaine from suppliers in New York City and met with his close associates at hotels in Danbury

to process and package the cocaine for street sale.

       The evidence involving Hawkins specifically was a small fraction of the evidence

admitted during trial. The only evidence concerning Hawkins consisted of: (1) recordings of five

intercepted telephone calls;3 (2) the testimony of Special Agent Eileen Dinnan of the Drug

Enforcement Agency; and (3) the testimony of Joshua Febres, one of Luna’s associates, who was

cooperating with the government.

       In the five telephone calls, Hawkins discussed proposed drug purchases with Luna and

Febres. On February 9, 2005, Hawkins spoke with Febres about purchasing five grams of

cocaine for $23 per gram. Exh. 332A at 3. Febres testified that the proposed February 9

transaction never materialized. Tr. at 1383. During that call, Hawkins also spoke with Luna and

expressed his desire to purchase cocaine from Luna in the future. Exh. 332A at 5-9; Tr. 1382-83.

During the February 9, 2005, phone call, Hawkins also told Luna that he had recently seen Henry

Mayoral, known as “Pac,” a close associate of Luna’s. Exh. 332A at 6; Tr. 1394, and Hawkins

also stated that he had programmed Luna’s telephone number into his cell phone. Exh. 332 at 6.

       On February 12, 2005, Hawkins called Luna to purchase an eight-ball (i.e., 3.5 grams) of

cocaine. Exh. 333A. Hawkins explained that he knew two individuals from work who were

seeking drugs. Id. at 2.

           HAWKINS:        These kids . . . from work, like I got two (2) of them. Homie
                           been calling me. He’s . . . looking hard, man. Like . . . you


       3
        Transcripts of the recorded telephone calls were introduced as full exhibits at trial.
Exhs. 332A, 333A, 334A, 335A, and 336A.

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                         know what I mean?

Id. (ellipses in original). Febres interpreted Hawkins’ statements on that call to mean that

Hawkins had two customers, who were looking for cocaine. Tr. at 1392-93. That same day,

Dinnan was conducting surveillance of Luna and observed Hawkins meet with Luna in the

parking lot of the Birchwood Condominiums, where Luna lived. Tr. at 1752-53.

        On February 17, 2005, Hawkins called Luna to purchase two eight-balls. Exh. 336A at 2.

Febres confirmed that he and Luna delivered two eight-balls of cocaine to Hawkins that evening.

Tr. 1396.

        On February 23, 2005, Hawkins called Luna, seeking to purchase another eight-ball of

cocaine. Exh. 334A. He explained to Luna:

            HAWKINS:     Listen, I just made out a child support payment. They got me
                         for 1200. . . . So, I just went ahead and paid the shit and now
                         I’m like total zero. But, I got this white kid, he waiting for me
                         right now, he got a $100.00. I need a “8 ball” though. You
                         know what I mean? I need to come from you right now and go
                         give it to him and then hit you right back in the spot.

Id. at 3.

        Luna agreed to meet Hawkins. Minutes later the two spoke again, and after Luna

explained where to meet, Hawkins told him that Hawkins would “grab the dough from [the white

kid] and come right back and hit you with it.” Exh. 335A at 2.

        In addition to the recorded phone calls, Febres testified that Hawkins purchased narcotics

from members of the Luna organization. Febres also accepted the government’s characterization

of Hawkins as a “go-between.” Tr. 1401. Specifically, Febres responded affirmatively (“Yes. I

guess.”) to the question: “Based on your understanding and your involvement in this



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organization, is Mr. Hawkins serving as a go-between for this customer from New Milford and

the Luna organization?” Id.

        On cross-examination, Hawkins’ attorney asked Febres whether Hawkins was a member

of the Luna drug organization. Tr. 1432.

            Q.    Is . . . Warren Hawkins a member of the Luna drug organization?

            A.    As far as what? Selling drugs for him?

            Q.    Yes.

            A.    No, he bought drugs.

            Q.    Okay, he bought drugs. Yep, he did. But did he ever sell drugs for
                  the Luna drug organization?

            A.    No.

Id.

III.    Discussion

        The indictment charges Hawkins with one count: conspiracy to possess with intent to

distribute, and to distribute, narcotics in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846.

Notably, he was not charged with possession with intent to distribute, in violation of 21 U.S.C. §

841(a)(1), or with use of a communications facility to facilitate a narcotics transaction, in

violation of 21 U.S.C. § 843(b). The evidence at trial was more than sufficient to prove either of

those charges.4

        To prove a narcotics conspiracy in violation of 21 U.S.C. §§ 846 and 841, the government


        4
        Before trial the government offered to allow Hawkins to plead guilty to a substitute
information charging him with use of a telephone to facilitate a drug transaction, in violation of
21 U.S.C. § 843. Although Hawkins had been provided copies of the intercepted phone calls in
which he is heard arranging drug purchases, Hawkins declined the government’s offer.

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must establish two essential elements: (1) that the conspiracy alleged in the indictment existed,

and (2) that the defendant knowingly joined and participated in it. See United States v. Jones, 30

F.3d 276, 281-82 (2d Cir. 1994). The government “need not prove the commission of any overt

acts in furtherance of the conspiracy.” United States v. Shabani, 513 U.S. 10, 15 (1994).

       “The essence of conspiracy is the agreement and not the commission of the substantive

offense.” United States v. Gore, 154 F.3d 34, 40 (2d Cir. 1998). “As a matter of law, the crime

of conspiracy must involve the agreement of two or more persons to commit a criminal act or

acts since the act of agreeing is a group act, unless at least two people commit it, no one does.”

Id. (internal quotations marks omitted).

       A.      Existence of the Charged Conspiracy

       Hawkins does not dispute that the government proved the existence of the conspiracy

alleged in the indictment. The evidence at trial on that point was substantial.

       B.      Hawkins’ Participation in the Charged Conspiracy

       Hawkins claims that there was insufficient evidence from which a jury could find that he

joined and participated in the Luna conspiracy. In order to prove a conspiracy charge against a

particular defendant, the government must introduce “evidence from which it can reasonably be

inferred that the person charged with conspiracy knew of the existence of the scheme alleged in

the indictment and knowingly joined and participated in it.” United States v. Sanchez Solis, 882

F.2d 693, 696 (2d Cir. 1989) (quoting United States v. Gaviria, 740 F.2d 174, 183 (2d Cir.

1984)). Once the existence of a conspiracy has been established, “though the link between

another defendant and the conspiracy need not be strong, the evidence must suffice to permit the

jury reasonably to find the element of that defendant’s participation – like every element –


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proven beyond a reasonable doubt.” Jones, 30 F.3d at 281-82. For Hawkins to prevail on his

Rule 29 motion, he must show that, “viewing the evidence in the light most favorable to the

government, . . . no rational trier of fact could have found the essential elements of the crime

charged beyond a reasonable doubt.” United States v. Leslie, 103 F.3d 1093, 1100 (2d Cir.)

(quoting United States v. Taylor, 92 F.3d 1313, 1333 (2d Cir. 1996)), cert. denied, 520 U.S. 1220

(1997).

                 1.      Evidence of Hawkins’ Knowledge of the Luna Conspiracy

          The government adduced evidence from which it reasonably could be inferred that

Hawkins knew of the Luna conspiracy. Febres testified, and the recorded telephone

conversations show, that Hawkins purchased cocaine from Luna on several occasions. Hawkins

was also familiar with Febres and Mayoral, two of Luna’s co-conspirators, and the evidence

suggests that he was aware of their participation in Luna’s narcotics organization. Thus, rational

jurors could have found that the government had proven beyond a reasonable doubt the first

element of a conspiracy – that Hawkins was aware of an agreement between Luna and others to

possess with intent to distribute cocaine.

                 2.      Evidence of Hawkins’ Participation in the Charged Conspiracy

          The critical issue in this case is whether, viewing the evidence in the light most favorable

to the government, rational jurors could find that the government proved beyond a reasonable

doubt that Hawkins joined and participated in the charged conspiracy. If rational jurors could

find that Hawkins agreed to join the conspiracy, then the government’s proof is complete; if not,

then Hawkins must be acquitted.

                         a. The Buyer-Seller Relationship


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       Based on Febres’ testimony and the intercepted telephone calls, reasonable jurors could

find that: (1) Hawkins purchased cocaine from Luna or Luna’s co-conspirators; (2) Hawkins

intended to resell some of that cocaine to other individuals; and (3) at least some of the Luna co-

conspirators were aware of Hawkins’ intent to resell cocaine. In other words, it would be

reasonable to find that Hawkins did indeed function as a sort of “go-between,” reselling to drug

users some of the cocaine that had been sold to him by the Luna organization.

       Whether those permissible findings are sufficient for reasonable jurors to find that

Hawkins joined the conspiracy turns on the nature of the agreement essential to the crime of

conspiracy. Every completed sale involves either an express or implied agreement between the

seller and the buyer, whether the item being purchased is a house, a loaf of bread, or illegal

narcotics. No sale can occur unless the parties agree on all essential terms. Here, Luna agreed to

sell and Hawkins agreed to buy a particular quantity of cocaine for a particular price. Because

the drug sales proven by the government involved hand-to-hand transfers, the agreement

implicitly included an agreement that Luna and Hawkins would each sequentially possess the

narcotics; Luna would possess the narcotics and hand them to Hawkins, who would then possess

them. Luna was told that Hawkins intended to resell the narcotics, therefore we know that the

possession by each was with an intent on the part of each participant to distribute the narcotics;

Luna intended to distribute the narcotics to Hawkins, and Hawkins intended to distribute the

narcotics to his customers.

       If the agreement implicit in every sale of drugs can constitute the agreement necessary to

satisfy the second prong of a conspiracy charge, the proof that Hawkins purchased narcotics from

Luna with the intent to further distribute them would provide complete proof that Hawkins


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agreed with Luna to possess with intent to distribute narcotics. If so, the logical extension of that

principle would mean that every purchaser of narcotics who does not intend to personally

consume the narcotics purchased would be guilty of the crime of conspiracy to possess with

intent to distribute narcotics. I conclude that more is required.

       The Seventh Circuit Court of Appeals, sitting en banc, has expressly held that the

agreement at the heart of a narcotics conspiracy charge must be an agreement separate and

distinct from the implicit agreement that arises from every purchase of narcotics.

       A conspiracy is not merely an agreement. It is an agreement with a particular kind
       of object – an agreement to commit a crime. When the sale of some commodity,
       such as illegal drugs, is the substantive crime, the sale agreement itself cannot be
       the conspiracy, for it has no separate criminal object. What is required for
       conspiracy in such a case is an agreement to commit some other crime beyond the
       crime constituted by the agreement itself. . . . But insofar as there was an
       agreement between [the parties] merely on the one side to sell and on the other to
       buy, there was no conspiracy between them no matter what [the buyer] intended to
       do with the drugs after he bought them. [The seller] would not, merely by selling
       to [the buyer], have been agreeing with [the buyer] to some further sale. A person
       who sells a gun knowing that the buyer intends to murder someone may or may
       not be an aider of abettor of the murder, but he is not a conspirator, because he
       and his buyer do not have an agreement to murder anyone.

United States v. Lechuga, 994 F.2d 346, 349 (7th Cir.) (en banc), cert. denied, 510 U.S. 982

(1993). The Seventh Circuit has expressly extended this reasoning to include the situation

present in this case, that is, that the buyer of narcotics intends to resell them. “[W]hile purchase

of narcotics for resale is evidence of a conspiratorial agreement (especially when the purchases

are repeated as they were here), a buyer-seller relationship alone is insufficient to prove a

conspiracy. This is the case even when the buyer intends to resell the purchased narcotics.”

United States v. Mims, 92 F.3d 461, 465 (7th Cir. 1996) (emphasis in original). “The buy-sell

transaction is simply not probative of an agreement to join together to accomplish a criminal


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objective beyond that already being accomplished by the transaction.” United States v.

Townsend, 924 F.2d 1385, 1394 (7th Cir. 1991).

       To my knowledge, the Second Circuit Court of Appeals has not so clearly held that the

agreement necessary to sustain a conspiracy conviction must be an agreement to accomplish an

objective beyond the underlying sale of narcotics. The Second Circuit, however, has certainly

implied as much. In United States v. Gore, the Second Circuit noted that “[o]ther Circuits have

uniformly held that the mere relationship between a buyer and seller of drugs is not sufficient to

show a conspiratorial agreement under § 846.” 154 F.3d at 40 n.1 (citing Mims as well as

decisions from the D.C., Sixth, Ninth, Tenth, and Eleventh Circuits). The Court then went on to

adopt that position. “Without more, the mere buyer-seller relationship . . . is insufficient to

establish a conspiracy.” Id. at 40. See also United States v. Medina, 944 F.2d 60, 65 (2d Cir.

1991) (declining to apply buyer-seller rule to case involving “advanced planning among the

alleged co-conspirators to deal in wholesale quantities of drugs obviously not intended for

personal use”); United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1191 (2d Cir. 1989)

(noting “a mere buyer-seller relationship is not necessarily a conspiracy”); United States v.

Borelli, 336 F.2d 376, 384 (2d Cir. 1964) (“A seller of narcotics in bulk surely knows that the

purchasers will undertake to resell the goods . . . . But a sale or a purchase scarcely constitutes a

sufficient basis for inferring agreement to cooperate with the opposite parties . . . , unless some

such understanding is evidenced by other conduct which accompanies or supplements the

transaction.”); United States v. Koch, 113 F.2d 982, 983 (2d Cir. 1940) (Defendant-appellant

“had no agreement to advance any joint interest. The appellant bought at a stated price and was

under no obligation to [the alleged co-conspirator] except to pay him that price. The purchase


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alone was insufficient to prove the appellant a conspirator . . . .”).

        In Gore, the Second Circuit reversed the judgment of conviction on a charge of

conspiracy to distribute heroin, holding that the government had not satisfied the most basic

element of a conspiracy charge – an agreement to distribute drugs. Id. at 41. The defendant had

sold “Fuji Power” branded heroin and spoke with the informant concerning the quality of the

heroin and his supplier, stating, “You always get something good and people don’t appreciate it.

Yeah man, I don’t want to lose face with that dude man because he always has something decent

and he always comes up right.” Id. at 38. The government contended that it was reasonable to

infer from that statement the existence of an agreement between the defendant and his supplier.

Id. at 40.

        The Court held that the defendant’s sale of heroin with the label, “Fuji Power,” was

insufficient to show that he was part of a conspiracy to distribute heroin with that brand. Id. at

39. No witness testified to the defendant’s participation in any conspiracy. Id. Moreover, the

Court noted that the defendant’s remarks from which one could infer a buyer-seller relationship

with his source were legally insufficient to show a conspiratorial agreement to distribute drugs

made between the defendant and his source. Id. at 40.

        In both this case and in Gore, there was sufficient proof that a sale of drugs had occurred

between the defendant and his supplier, and that the defendant intended to further distribute the

purchased drugs.5 If the purchase of drugs by one who intends to resell them satisfied every


        5
          In Gore, evidence of the purchase from the supplier was circumstantial and evidence of
the intent to sell was direct; here, evidence of the purchase from the supplier was direct and
evidence of the intent to resell was circumstantial. That difference in the nature of the proof
cannot matter; in each case, a jury could have found both a sale to the defendant and the
defendant’s intent to further distribute the drugs.

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element of 21 U.S.C. § 846, Gore would have been decided differently. I therefore conclude that

in Gore the Second Circuit held, sub silentio, that the agreement implicit in the purchase of drugs

by the defendant from his supplier cannot constitute the agreement necessary to proof of a

violation of section 846.

       Although the Second Circuit has not expressly held as much, I conclude that the Court of

Appeals would likely follow the Seventh Circuit’s holding that the agreement necessary to proof

of a conspiracy is an agreement to undertake unlawful conduct in addition to the purchase and

sale transaction, even when the buyer intends to distribute the purchased drugs. I expect the

Second Circuit to hold that, without more, the mere buyer-seller relationship is insufficient to

establish a conspiracy, even if the seller knows that the buyer intends to resell the drugs. Cf.

Gore, 154 F.3d at 40.

                        b. Other Evidence of Agreement

       The mere existence of a buyer-seller relationship is not sufficient, standing alone, to

prove a conspiracy to possess with intent to distribute cocaine. Nevertheless, I must consider

whether the other evidence in the record, when considered in conjunction with the buyer-seller

relationship, is sufficient for reasonable jurors to find beyond a reasonable doubt that Hawkins

agreed to participate in the Luna conspiracy.

       In Gore, there was little besides the buyer-seller relationship to prove participation in the

charged conspiracy. Here the government offered more evidence about Hawkins’ relationships

with his co-defendants. The record includes audiotapes of phone calls between Hawkins and

Luna conspirators. In addition, Hawkins was seen meeting with Luna under circumstances

suggesting the hand-to-hand delivery of drugs for money. The government emphasizes that Luna


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trusted Hawkins, as shown by the fact that he met with him to deliver drugs. Significantly,

Hawkins purchased drugs from Luna on more than one occasion. In addition, there was evidence

from the intercepted phone calls that Luna knew Hawkins intended to distribute the cocaine that

Luna sold him. All of this evidence was available to the jury and must be considered when

deciding Hawkins’ Rule 29 motion.

       Luna’s knowledge of Hawkins’ intent still does not give rise to an agreement with respect

to Hawkins’ sales. Just as proof that Hawkins joined the Luna conspiracy requires both

Hawkins’ knowledge of the Luna conspiracy and his agreement to join it, so, too, proof that Luna

sought to aid Hawkins’ plan requires both Luna’s knowledge of the Hawkins plan and his

agreement to further it. There is no evidence in the phone calls or elsewhere in the record that

would support a finding that Luna agreed to assist Hawkins with Hawkins’ sales, except by

supplying the cocaine – conduct that is insufficient to support a conspiracy conviction, for the

reasons set forth above. “Where the buyer’s purpose is merely to buy, the seller’s purpose is

merely to sell, and no prior or contemporaneous understanding exists between the two beyond

the sales agreement, no conspiracy has been shown. No joint objective exists among the two,

even though both are aware of the illegal nature of the goods.” United States v. Burroughs, 830

F.2d 1574, 1581 (11th Cir. 1987).

       As in Gore, the record here “is devoid of any conspiratorial conduct” on the part of

Hawkins. 154 F.3d at 40. No witness testified to Hawkins’ participation in the conspiracy or

membership in the Luna organization. To the contrary, on cross-examination Febres testified

that Hawkins was not a member of the Luna drug organization and never sold drugs for Luna.

Tr. 1432.


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       The tapes of the intercepted phone calls provide conclusive evidence that Hawkins

purchased cocaine from Luna, but they do not provide meaningful evidence that Hawkins agreed

to work with Luna and his co-conspirators to further a joint goal. The phone calls set forth both

Hawkins’ efforts to purchase cocaine from Luna conspirators and Hawkins’ remarks concerning

his own customers – one of whom had $100 that Hawkins could use, effectively, to finance

Hawkins’ purchase from Luna.

       Hawkins’ two statements to Luna concerning two “kids . . . from work” and a “white kid”

who were looking to purchase cocaine from him are insufficient to establish that Hawkins joined

or participated in an agreement with Luna or Febres jointly to distribute or to possess with intent

to distribute cocaine. Cf. Gore, F.3d at 41 (holding that defendant’s statement made

contemporaneously with heroin sale, pointing to the existence of a potential drug source, was

“too thin a reed to support the essential element of a conspiracy – the agreement”). At most,

those statements are consistent with the characterization that Hawkins acted as a “go-between.”

Tr. 1401. A “go between” is not necessarily a co-conspirator. See Mims, 92 F.3d at 463-64

(holding that defendant, who made as many as ten trips per night to facilitate sales between drug

users and drug sellers, was not necessarily a conspirator; guilt would turn on proof of

conspiratorial agreement). One who merely functions as a go-between without intending to

further the goals of the conspiracy does not thereby become a conspirator, unlike one who

intentionally facilitates transactions in order to further the aims of the conspiracy.

       The level of trust shown by Luna toward Hawkins is not significant; Hawkins was shown

some trust, but he did not hold a position of trust within the charged conspiracy. Luna permitted

only trusted associates to “hold the phone,” to carry drugs for Luna, and especially to attend


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meetings at hotels where cocaine was cut and re-pressed for distribution. Hawkins did none of

those things. The trust demonstrated by meeting face-to-face to sell drugs is the level of trust

inherent in every street-level drug sale to end-users. No inference of conspiratorial agreement

arises out of such sales.

       Nor do other factors often considered as raising permissible inferences of conspiratorial

conduct supply sufficient evidence to prove Hawkins’ guilt beyond a reasonable doubt. The

number of transactions and duration of the sales activity are not significant; there were a total of

five phone calls and three drug transactions, all within the month of February 2005. The quantity

of cocaine that Hawkins purchased, a total of 14 grams, does not suggest his participation in a

conspiracy; indeed, that quantity alone does not even suggest distribution rather than personal use

– it is only the phone calls that provide the evidence of an intent to distribute by Hawkins. There

was no evidence whatsoever that either Luna or Hawkins possessed a shared stake in the sales of

cocaine by the other; Hawkins never discussed paying Luna a cut of the proceeds, never received

payments from Luna for activities on his behalf, never suggested that he was under Luna’s

control, never received instructions or encouragement from Luna, never referred to the purchased

drugs as “Luna’s drugs,” never accounted to Luna for sales made or monies received, and never

acknowledged acting on behalf of Luna or jointly with him. There was no evidence that Hawkins

and Luna ever talked or met for a purpose other than Hawkins buying drugs from Luna; Hawkins

was not connected to the supply, processing, or packaging of cocaine for sale, or to the

solicitation or delivery of orders through the conspirators’ cell phone. There was no evidence

that Luna or his conspirators sought to promote Hawkins’ sales in any way or that they provided

Hawkins with “tools of the trade,” e.g., firearms, packaging materials, or cell phones.


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       The government argues that Luna and Hawkins shared a common goal: to sell more

drugs.6 There are several problems with this argument. First, it uses the phrase “common goal”

to describe similar goals. The pertinent inquiry when considering potential co-conspirators is

whether their “common goal” is not merely similar, but is actually a shared or joint goal; here

there is no evidence that Luna and Hawkins agreed to further a shared or joint goal. Second,

there is not even any evidence that Hawkins had a goal of selling more drugs, i.e., that he planned

any future sales. The evidence about him, his activities and his intentions is quite limited. One

might assume that all drug dealers want to sell more drugs, but even accepting that assumption

does not help prove an agreement between Luna and Hawkins. Nor is there any evidence that

Luna cared what Hawkins did with the drugs. Luna’s objective was accomplished once he

received the sale proceeds from Hawkins. I share former Chief Judge Scullin’s view that “the

law of conspiracy in this Circuit demands proof beyond a reasonable doubt that Defendant

intended to further or advance the . . . conspiracy’s interests, not that he inadvertently or

incidentally did so by buying, using and/or selling drugs that he obtained from the . . .

conspiracy.” United States v. Santiago, 2003 WL 21254423 at *7 (N.D.N.Y. 2003) (citations

omitted). The necessary proof is lacking in this case.

       In sum, considering all the evidence in the light most favorable to the government, the

prosecution proved at most that it is plausible that Hawkins joined the conspiracy, but not that he

joined the charged conspiracy beyond a reasonable doubt. Cf. United States v. Jones, 393 F.3d

107, 112 (2d Cir. 2004). The proof at trial was insufficient, therefore, to sustain the jury’s


       6
          Citing a goal to sell more drugs is not especially helpful in determining whether a
particular defendant joined a conspiracy. Although all co-conspirators share that goal, not all
people who share that goal are co-conspirators.

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verdict. Accordingly, the Rule 29 motion is granted and Hawkins is acquitted of the charge in

count one of the superseding indictment.

IV.    Conclusion

       Hawkins’ motion for a judgment of acquittal (doc. # 642) is GRANTED. A judgment of

acquittal shall enter and the clerk shall close the case against Hawkins, who shall be released

from custody forthwith.



       It is so ordered.

       Dated at Bridgeport, Connecticut, this 15th day of June 2007.



                                                      /s/ Stefan R. Underhill
                                                              Stefan R. Underhill
                                                              United States District Judge




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